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                    11   CHANGE OF CONTROL SEVERANCE
                         AND INVOLUNTARY TERMINATION
                    12   PROTECTION POLICY; LINDSAY
                         CHAPMAN; BRIAN BJELDE; and
                    13   DHRUV BATURA

                    14                               UNITED STATES DISTRICT COURT
                    15                              NORTHERN DISTRICT OF CALIFORNIA
                    16                                  SAN FRANCISCO DIVISION

                    17   PARAG AGRAWAL, NED SEGAL, VIJAYA               Case No. 3:24-cv-01304-MMC
                         GADDE, and SEAN EDGETT,
                    18                                                  OPPOSITION TO PLAINTIFFS’
                                      Plaintiffs,                       MOTION TO OPEN DISCOVERY
                    19        vs.
                                                                        Hearing Date: November 15, 2024
                    20   ELON MUSK; X CORP., F/K/A TWITTER,             Time: 9:00 AM
                         INC.; TWITTER, INC. CHANGE OF                  Location: Courtroom 7, 19th Floor
                    21   CONTROL AND INVOLUNTARY                        Hon. Maxine M. Chesney
                         TERMINATION PROTECTION POLICY;
                    22   TWITTER, INC. CHANGE OF CONTROL                Action Filed: March 4, 2024
                         SEVERANCE AND INVOLUNTARY
                    23   TERMINATION PROTECTION POLICY;
                         LINDSAY CHAPMAN; BRIAN BJELDE;
                    24   AND DHRUV BATURA,
                    25                Defendants.
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                     1   I.     INTRODUCTION

                     2          On June 14, 2024, this Court stayed discovery pending the outcome of Defendants’ Motion

                     3   to Dismiss. Dkt. 60. The Court did so over Plaintiffs’ objection, in recognition that the Parties

                     4   would likely dispute the appropriate scope of discovery pending clarity on whether Plaintiffs’

                     5   ERISA Section 510 claim—the subject of Defendants’ Motion to Dismiss—can proceed. Dkt. 64

                     6   at 22:24-23:12. Now, Plaintiffs ask the Court to reconsider its order staying discovery because

                     7   “significant time has now passed.” Dkt. 70 at 3. But Plaintiffs’ Motion to Open Discovery

                     8   (“Motion”) violates the Local Rules for motions for reconsideration and should be denied on that

                     9   basis alone. Regardless, Plaintiffs identify no material changed circumstances or serious risk of
                    10   prejudice supporting their request to commence discovery before the Court rules on Defendants’

                    11   Motion to Dismiss. There are many months until the April 2025 deadline for Plaintiffs’ Rule 52

                    12   motion, and discovery in ERISA denial-of-benefits cases rarely requires more than the several

                    13   months remaining before that deadline. See, e.g., Rowell v. Aviza Tech. Health and Welfare Plan,

                    14   2011 WL 5190172, at *2 (N.D. Cal. Oct. 31, 2011) (“Courts have historically limited discovery in

                    15   ERISA cases consistent with ERISA’s goal to provide a method for workers and beneficiaries to

                    16   resolve disputes over benefits inexpensively and expeditiously.”). Besides, Plaintiffs can always

                    17   seek more time to complete discovery later, upon a showing of good cause, should it become

                    18   necessary. Thus, their current claims of “changed circumstances” and “prejudice” ring hollow.

                    19          To make matters worse, Plaintiffs refused to engage seriously in conferral efforts before
                    20   filing their Motion. The process was entirely one-sided. Specifically, Defendants proposed a

                    21   compromise whereby they would agree to produce the relevant administrative record—including

                    22   documents previously withheld on the basis of attorney-client privilege—if Plaintiffs would simply

                    23   agree that they would not argue that the production of privileged materials constituted any waiver

                    24   of privilege beyond those documents or this litigation. See Dkt. 70-2 at 3. Defendants even offered

                    25   to confer as to any further discovery Plaintiffs believed was necessary after the completion of this

                    26   production, assuming the Court had not ruled on the Motion to Dismiss. Id. Despite expressing

                    27   their appreciation of this “thoughtful” proposal, Plaintiffs summarily rejected it, made no

                    28   counterproposal, and filed their Motion. See id. at 2.
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                     1          Ultimately, Defendants remain willing to negotiate a reasonable scope of discovery tailored

                     2   to Plaintiffs’ specific allegations of conflicts of interest and/or procedural irregularities related to

                     3   their claims for benefits under ERISA § 502(a)(1)(B). But, consistent with the wealth of case law

                     4   on appropriate discovery in such cases, Defendants have also maintained that any discovery “must

                     5   be narrowly tailored and cannot be a fishing expedition.” Walker v. Metro. Life Ins. Co., 2008 WL

                     6   426068, at *2 (N.D. Cal. Feb. 14, 2008) (internal citation omitted); see also, e.g., Zewdu v.

                     7   Citigroup Long Term Disability Plan, 264 F.R.D. 622, 626 (N.D. Cal. Feb. 12, 2010) (“Discovery

                     8   must be narrowly tailored to reveal the nature and extent of the conflict, and must not be a fishing

                     9   expedition.”). Plaintiffs disagree with that approach, signaling an intent to conduct wide-ranging
                    10   discovery on issues completely untethered from the administrative process, such as the Twitter

                    11   merger and related litigation. See Dkt. 59 at 9 n.3 (describing the scope of Plaintiffs’ initial

                    12   disclosures). Rather than engage in any meaningful conferral efforts, Plaintiffs instead aim to throw

                    13   open the discovery floodgates and force the Court to resolve any disagreement about the appropriate

                    14   scope of discovery in this case—even while a Court-ordered stay is in place. Contrary to Plaintiffs’

                    15   Motion, the Court’s intervention is unnecessary at this stage. Plaintiffs have articulated no

                    16   legitimate basis to support a finding of prejudice associated with the continuing stay of discovery,

                    17   and the Court’s ruling on the Motion to Dismiss will help determine the scope of discovery and

                    18   limit potential discovery disputes. Thus, the stay should remain in effect.

                    19          For these reasons and as discussed below, the Court should deny Plaintiffs’ Motion.
                    20   II.    ARGUMENT

                    21          A.      Plaintiffs’ Motion Flunks The Requirements Of Local Rule 7-9.

                    22          During the case management conference, Plaintiffs asked the Court to permit them to take

                    23   discovery during the pendency of Defendants’ Motion to Dismiss. Dkt. 64 at 22:24-23:2. The

                    24   Court denied that request and issued an order staying discovery. Id. at 23:17-18; see also Dkt. 60

                    25   (“Court orders stay of discovery in place until ruling on pending motion to dismiss.”). Plaintiffs’

                    26   Motion is nothing more than a mis-labeled motion for reconsideration of the Court’s prior order.

                    27   For that reason, it should be denied under Local Rule 7-9(a), which states that “[n]o party may

                    28   notice a motion for reconsideration without first obtaining leave of Court to file the motion.” Austin
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                     1   v. Lyft, Inc., 2022 WL 395310, at *2 (N.D. Cal. Feb. 9, 2022) (“[B]y failing to seek leave of the

                     2   court before filing his motion for reconsideration, [plaintiff] has not complied with the Local Rules

                     3   of this district and, on that basis alone, the motion will be denied.”) (Chesney, J.) (citing Tri-Valley

                     4   CARES v. U.S. Dep’t of Energy, 671 F.3d 1113, 1131 (9th Cir. 2012)). Further, the Local Rule

                     5   requires Plaintiffs to demonstrate one of three factors to justify reconsideration: (1) that “a material

                     6   difference in fact or law exists from that which was presented to the Court,” (2) “emergence of new

                     7   material facts or a change of law,” or (3) “manifest failure by the Court to consider material facts

                     8   or dispositive legal arguments.” L.R. 7-9(b). They have failed to do so. Accordingly, the Court

                     9   should deny Plaintiffs’ Motion because it flunks all the requirements of Local Rule 7-9.
                    10           B.      No Circumstances Have Changed Since The Court Stayed Discovery.

                    11           Plaintiffs’ Motion also fails on its own terms. Their first argument is that “circumstances

                    12   have changed since the Court stayed discovery.” Dkt. 70 at 2. But the only “changed circumstance”

                    13   is Plaintiffs’ apparent displeasure that the Court has not ruled more quickly on the Motion to

                    14   Dismiss. Id. at 2-3. This is no reason to open discovery, and Plaintiffs cite no case law supporting

                    15   their position. Plaintiffs rely on In re Google Location History Litig., 514 F. Supp. 3d 1147 (N.D.

                    16   Cal. 2021), for the general principle that “[c]ourts have ‘traditionally looked unfavorably upon

                    17   blanket stays of discovery while Rule 12 motions are pending.’” Dkt. 70 at 3. But Google was not

                    18   an ERISA denial-of-benefits case grounded in an administrative record, and it does not stand for

                    19   the proposition—as Plaintiffs suggest—that a court must always open discovery when a party
                    20   requests it. Indeed, the Google court denied the plaintiffs’ motion to reopen discovery. 514 F.

                    21   Supp. 3d at 1166. And it did so despite the plaintiffs’ professed concern—like the concern Plaintiffs

                    22   (inaccurately) voice here—that discovery was proceeding against the defendant in “similar

                    23   proceedings” brought by a different plaintiff. Id. at 1165. Clearly, then, Google does not support

                    24   Plaintiffs’ request.

                    25           “A district court has broad discretion to stay discovery pending the disposition of a

                    26   dispositive motion.” Hall v. Tilton, 2010 WL 539679, at *2 (N.D. Cal. Feb. 9, 2010). This Court

                    27   appropriately exercised that discretion here. While Plaintiffs might disagree with that decision,

                    28   they provide no good cause for the Court to reconsider it.
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                     1          C.      There Is No Prejudice To Plaintiffs.

                     2          Next, Plaintiffs assert they will be prejudiced by the continuing stay of discovery because

                     3   (1) the “value of X Corp. has plummeted precipitously since the acquisition of Twitter” and (2) it

                     4   is “unfair” that two related cases may proceed to discovery first. Dkt. 70 at 3. Plaintiffs’ assertions

                     5   are meritless and, in any event, conclusory assertions such as these are insufficient to demonstrate

                     6   prejudice as a matter of law. E.g., Sylabs, Inc. v. Rose, 2024 WL 4312719, at *6 (N.D. Cal. Sept.

                     7   26, 2024) (“the Court requires more than conclusory averments of prejudice”); Nagle v. York, 2021

                     8   WL 5012173, at *2 (N.D. Cal. Oct. 28, 2021) (no “sufficient showing of prejudice” where plaintiff

                     9   “relies on conclusory assertions”).
                    10          Plaintiffs cite a news article reporting that a recent valuation places the value of X Corp. at

                    11   $9.4 billion. From there, Plaintiffs speculate that this valuation could “compromise” their claims.

                    12   Dkt. 70-4 at 2. Putting aside the accuracy of that reported valuation, Plaintiffs’ claims are a drop

                    13   in the bucket compared to the purportedly reduced valuation of X Corp. Plaintiffs seek to recover

                    14   approximately $128.6 million in severance benefits, Compl. ¶¶ 159, 163, 167, 171, which would

                    15   represent less than 1.5% of the $9.4 billion valuation on which they base their cryptic claims of

                    16   prejudice. Moreover, Plaintiffs seek to recover individually from Defendant Musk, who both the

                    17   Complaint and the cited article identify as the world’s wealthiest person. In short, Plaintiffs’

                    18   apparent contention that by temporarily staying discovery this Court has compromised their ability

                    19   to collect on some future judgment is entirely groundless.
                    20           Nor does the possibility that two other similar cases against Defendants might proceed to

                    21   discovery prejudice Plaintiffs, although they complain it seems “unfair.” Different cases against

                    22   the same defendants—including related cases—routinely proceed on different schedules.

                    23   Moreover, Plaintiffs ignore that, in Kaiden, the plaintiff did not assert a claim under ERISA § 510,

                    24   and thus Defendants have not filed a motion to dismiss in that case. See Kaiden v. Musk, et al.,

                    25   Compl., No. 4:24-cv-03554-MMC, Dkt. 1 (N.D. Cal. June 27, 2024). In Caldwell, where a motion

                    26   to dismiss is pending before this same Court, Defendants have asserted that a stay of discovery is

                    27   appropriate pending the outcome of that motion to dismiss, “which will clarify what claims remain

                    28   at issue in the case and the scope of discovery.” See Caldwell v. Musk, et al., No. 3:24-cv-02022-
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                     1   MMC, Dkt. 39 at 10 of 13 (N.D. Cal. July 3, 2024).1 Although the Court has not formally granted

                     2   or denied a stay in Caldwell, Defendants’ position is that discovery should be stayed pending

                     3   resolution of the motion to dismiss, consistent with the stay the Court entered here. Regardless,

                     4   Plaintiffs here still have approximately six months before their deadline to move under Rule 52,

                     5   see Srigley v. Monterey Peninsula Yacht Club, Inc., --- F. Supp. 3d ----, 2024 WL 4143590, at *3

                     6   (N.D. Cal. Sept. 11, 2024) (finding no prejudice where plaintiff “offers only conclusory arguments”

                     7   and had “nearly two months to conduct any necessary additional discovery”), and if they need more

                     8   time to complete discovery, they can always seek an extension of that and other deadlines upon a

                     9   showing of good cause. Plaintiffs can also help themselves by appropriately calibrating the scope
                    10   of discovery they seek and taking seriously their duty to confer with Defendants.

                    11          D.      Plaintiffs Continue To Misrepresent Defendants’ Position On Discovery.

                    12          Finally, Plaintiffs argue that Defendants “agreed” that discovery could proceed pending an

                    13   outcome on the Motion to Dismiss and, thus, there can be no prejudice to Defendants by opening

                    14   discovery now. Dkt. 70 at 4. This is inaccurate. As Defendants explained during the pre-Motion

                    15   conferral process in which Plaintiffs barely engaged, Defendants “never agreed that full discovery

                    16   on the 502(a)(1)(B) claims should proceed pending a ruling on [the] motion to dismiss, particularly

                    17   given the parties’ divergent views on the scope of discovery.” Dkt. 70-2 at 1. To the contrary,

                    18   Defendants proposed in the Joint Case Management Statement a far more limited scope of

                    19   discovery, which both Plaintiffs and this Court rejected, albeit for entirely different reasons. See
                    20   Dkt. 59 at 9-10; Dkt. 64 at 23:17-20 (“[N]o, I’m going to deny that request and just make it a clean

                    21   no discovery until I rule.”). Accordingly, the Court should see through Plaintiffs’ misguided efforts

                    22   to claim prejudice resulting from their own decision to refuse any reasonable limit on discovery.

                    23          Consider Defendants’ most recent compromise offer during the decidedly one-sided, pre-

                    24   Motion conferral process. That proposal addressed Plaintiffs’ primary procedural irregularity

                    25   allegation in this case: that Defendants “withheld documents,” on grounds of attorney-client

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                           At the time Plaintiffs filed their Motion, no discovery had been served in Caldwell, although the
                    28   plaintiff there very recently served discovery requests. Those discovery requests are premature for
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                         the reasons noted above.
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                     1   privilege, during the administrative claims process. Compl. ¶ 136.2 Specifically, during their

                     2   conferral efforts, Defendants offered to produce the administrative record for each Plaintiff,

                     3   including the documents withheld on privilege grounds, subject to some reasonable restrictions to

                     4   maintain the privilege for other purposes. Dkt. 70-2 at 3.3 Not only would this have provided

                     5   appropriate discovery relevant to Plaintiffs’ claims, but it would have obviated the motion practice

                     6   Plaintiffs have previously signaled. See Dkt. 59 at 5 (“Plaintiffs anticipate filing motions to compel

                     7   the production of materials that were wrongfully withheld during the administrative appeal

                     8   process.”). Additionally, Defendants proposed further conferral about additional discovery after

                     9   completion of the proposed administrative-record production, if the Court had not yet ruled on
                    10   Defendants’ Motion to Dismiss.         Plaintiffs rejected that offer and refused to provide any

                    11   counterproposal before filing their Motion.

                    12          Finally, Plaintiffs are wrong: Defendants would be prejudiced by the opening of discovery.

                    13   Plaintiffs have already indicated that they believe discovery specific to the ERISA § 510 claims—

                    14   the subject of Defendants’ Motion to Dismiss—is equally relevant to their section 502(a)(1)(B)

                    15   claims, because they have alleged that the Plan Administrator operated under a conflict of interest.

                    16   See Dkt. 64 at 12:12-16 (“We think that the same body of discovery will go to that termination

                    17
                         2
                           To the extent Plaintiffs assert other procedural irregularities for which they claim entitlement to
                    18   take discovery, they have not conveyed their position. In response to Defendants’ specific inquiry,
                         Plaintiffs responded only that they intend to “seek discovery on (i) the administrative record, (ii)
                    19   conflicts of interest, and (iii) procedural irregularities in the claims administration process.” Dkt.
                         70-2 at 5-6. Plaintiffs’ response is plainly insufficient to constitute any reasonable compromise or
                    20   even for Defendants to meaningfully evaluate. Moreover, with respect to procedural irregularities
                         in particular, discovery is only permitted to the extent such irregularities “prevented the full
                    21   development of the administrative record.” DelDebbio v. Walgreens Co., 2012 WL 707155, at *2
                         (N.D. Cal. Mar. 5, 2012). Thus, Plaintiffs must identify specific alleged procedural irregularities
                    22   and explain how the supposed irregularities “prevented the full development of the administrative
                         record” before they are entitled to conduct discovery. Id. (rejecting plaintiff’s request for discovery
                    23   into “alleged procedural violations of ERISA”). Plaintiffs have so far failed to do so.
                         3
                    24     Defendants maintain it was reasonable to withhold these privileged documents during the claims
                         administration process because the plans at issue are ERISA “top-hat” plans, which are exempt
                    25   from ERISA’s fiduciary responsibility provisions and, in turn, the fiduciary exception to the
                         attorney-client privilege. See, e.g., Kramer v. Am. Elec. Power Exec. Severance Plan, 2023 WL
                    26   2925117, at *2, 7 (S.D. Ohio Apr. 13, 2023) (because the plan was an ERISA top hat plan, “the
                         fiduciary exception to attorney-client privilege does not apply”); Tolbert v. RBC Cap. Mkts. Corp.,
                    27   2012 WL 1067629, at *5 (S.D. Tex. Mar. 28, 2012) (“[T]he WAP is a top hat ERISA plan. Thus,
                         the fiduciary exception does not apply.”). Nonetheless, Defendants were willing to produce these
                    28   materials as a compromise, with appropriate safeguards in place, in the hopes of avoiding a
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                         discovery dispute.
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                     1   decision which we consider to have been quite improper but also to the conflict and the bias and

                     2   the taint of the process—that followed it.”). Defendants disagree. While evidence concerning the

                     3   subjective motivation for Plaintiffs’ terminations may be relevant to their section 510 claims, it is

                     4   not relevant to Plaintiffs’ allegation (in support of their section 502(a)(1)(B) claims) that the Plan

                     5   Administrator operated under a conflict of interest based solely on X Corp.’s financial obligation

                     6   to pay severance benefits awarded under the plans. Compl. ¶ 156. Regardless, despite the parties’

                     7   disagreement on this issue, there is no serious question that the Court’s resolution of Defendants’

                     8   Motion to Dismiss will impact the scope of discovery and, equally important, the scope of potential

                     9   discovery disputes in this action. As a result, both the parties and the Court will be better served
                    10   by addressing these issues with a full understanding of the claims that remain at issue. That was

                    11   the conclusion this Court reached at the start of this case, and nothing in Plaintiffs’ Motion warrants

                    12   reconsidering that conclusion at this stage.

                    13   III.   CONCLUSION

                    14          For the foregoing reasons, the Court should deny Plaintiffs’ Motion to Open Discovery.

                    15

                    16    Dated:   October 24, 2024                             MORGAN, LEWIS & BOCKIUS LLP

                    17                                                          By     /s/ Christopher J. Boran
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